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UNITED STATES DISTRICT COURT "‘ !:~=JF- %J
WESTERN DIsTRICT oF TENNESSEE k
Western Division 513 ~-"L"ii 22 field 35 93

 
      

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.::j =.N.D. fCiv ‘z|`-d, MEMPH¥S
-vs- Case No. 2:970r20244-2-D
ERIC RAYFORD

 

ORDER OF DETENT|ON PENDING REVOCAT|ON
FlNDlNGS
ln accordance vvith the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community.

Tliis conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(§) as stated on the record in open court at the detention hearing

D|RECT|ONS REGARD|NG DETENT|ON

ERIC RAYFORD is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. ERIC RAYFORD shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Dcfendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: June 21, 2005 i L/\, /\___Cy`"*"'/
\/ ‘ “rU M_ PHAM
UNITED STATES MAGISTRATE JUDGE

 
   
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:97-CR-20244 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

